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        EXHIBIT 5
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                                   1                                     UNITED STATES DISTRICT COURT
                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                   2

                                   3   ANDREW E. ROTH,                                       Case No.: 21-CV-4288-YGR
                                   4
                                                        Plaintiff,                           ORDER GRANTING DEFENDANTS’ MOTION
                                   5                                                         TO CERTIFY THE ORDER FOR IMMEDIATE
                                                   v.                                        INTERLOCUTORY APPEAL
                                   6
                                       FORIS VENTURES, LLC, VALLEJO
                                   7   VENTURES TRUST U/T/A 2/12/96, L. JOHN
                                       DOERR, ANN DOERR, AND BARBARA HAGER.
                                   8
                                                                                             Dkt. No. 57
                                                        Defendants.
                                   9

                                  10

                                  11           On June 13, 2022, the Court issued an order granting in part and denying in part defendants
Northern District of California
 United States District Court




                                  12   Foris Ventures, LLC (“Foris”), Vallejo Ventures Trust (“VVT”), John Doerr (“J. Doerr”), Ann
                                  13   Doerr (“A. Doerr”) and Barbara Hager’s (“Hager”) (collectively, “defendants”) motion to dismiss
                                  14   plaintiff Andrew Roth’s complaint. (Dkt. No. 44, “Order”). Defendants now request, pursuant to 28
                                  15   U.S.C. Section 1292(b), that the Court certify for immediate appeal one question decided in the
                                  16   Court’s prior Order: whether SEC Rule 16b-3(d) (“the Rule”) has a purpose-specific approval
                                  17   requirement, either generally, or, as in this case, for a transaction between an issuer and a company
                                  18   in which a director or officer has a reportable pecuniary interest.1
                                  19           Section 1292(b) is a “departure from the normal rule that only final judgments are
                                  20   appealable.” James v. Price Stern Sloan, Inc., 283 F.3d 1064, 1068 n.6 (9th Cir. 2002). This
                                  21   exception “must be construed narrowly.” Id. Under section 1292(b), a federal district court may
                                  22   certify a non-dispositive order for interlocutory review where: (1) the order “involves a controlling
                                  23   question of law,” (2) “as to which there is substantial ground for difference of opinion,” and
                                  24           1
                                                 Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court finds that
                                  25   this motion is appropriate for decision without oral argument. Thus, the August 23, 2022 hearing is hereby
                                       VACATED.
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                                   1   (3) “an immediate appeal from the order may materially advance the ultimate termination of the

                                   2   litigation.” 28 U.S.C. § 1292(b). The party seeking certification bears the burden of demonstrating

                                   3   that the requirements are satisfied and that such a departure is warranted. Coopers & Lybrand v.

                                   4   Livesay, 437 U.S. 463, 475 (1978). Satisfaction of all three elements is required.

                                   5                          Controlling Question of Law
                                   6          With respect to the first question of whether the issue to be certified is a “controlling
                                   7   question of law,” the moving party must show that “resolution of the issue on appeal could
                                   8   materially affect the outcome of litigation in the district court.” In re Cement Antitrust Litig., 673
                                   9   F.2d 1020, 1026 (9th Cir. 1981).
                                  10          Here, the Court finds that the Ninth Circuit’s interpretation of Rule 16b-3(d), specifically,
                                  11   whether it has a purpose-specific approval requirement, is a controlling question of law. In the
Northern District of California




                                  12   Court’s Order, the Court explained, relying on Am. Bar Ass’n, 1999 WL 61837 (S.E.C. No-Action
 United States District Court




                                  13   Letter Feb. 10, 1999), which was cited and referenced extensively by the defendants, that Rule 16-
                                  14   3(d)’s reach also extends to “transactions in which directors or officers have an indirect pecuniary
                                  15   interest” (“indirect transactions”) (Order at 9.) The Court laid out the three requirements, as
                                  16   described in the Securities Exchange Commission (“SEC”) No-Action letter, for the Rule to apply
                                  17   with respect to indirect transactions: (1) the approving entity must know and (2) the document
                                  18   evidencing the approval must specify the existence and extent of the officer’s or director’s indirect
                                  19   interest in the transaction and (3) that the approval is granted for purposes of making the transaction
                                  20   exempt under the Rule. (Id.) The Court found that defendants met the first two requirements but not
                                  21   the last. Thus, if the Ninth Circuit finds that the third requirement listed in the SEC No-Action letter
                                  22   is not required for the Rule to apply to indirect transactions, the Rule would apply to the
                                  23   transactions in this case, and the entire case would be dismissed. Thus, the first requirement is met.
                                  24                          Substantial Ground for Difference in Opinion
                                  25
                                              Section 1292(b) next requires that a “substantial ground for difference of opinion” exists on
                                  26
                                       the issue sought for certification. This requires the Court to examine to what extent the controlling
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                                   1   law is unclear. Couch v. Telescope Inc., 611 F.3d 629, 633 (9th Cir. 2010). “Courts traditionally

                                   2   will find that a substantial ground for difference of opinion exists where ‘the circuits are in dispute

                                   3   on the question and the court of appeals of the circuit has not spoken on the point, if complicated

                                   4   questions arise under foreign law, or if novel and difficult questions of first impression are

                                   5   presented.’” Id. (citation omitted). An issue may be certified when it presents a “novel legal

                                   6   issue[ ] . . . on which fair-minded jurists might reach contradictory conclusions,” and “not merely

                                   7   where they have already disagreed.” Reese v. BP Expl. (Alaska) Inc., 643 F.3d 681, 688 (9th Cir.

                                   8   2011).

                                   9            The issue of whether Rule16b-3(d) has a purpose-specific approval requirement presents

                                  10   “novel and difficult questions of first impression,” id., including whether Rule 16b-3(d) imposes a

                                  11   purpose-specific approval requirement and, if not, whether that principle admits of any exceptions,
Northern District of California




                                  12   such as for transactions between an issuer and a corporation in which a director has a reportable
 United States District Court




                                  13   indirect interest. These questions have not been addressed by the Ninth Circuit, nor any other

                                  14   district court in the Ninth Circuit. Moreover, the SEC, in a No Action letter, applied the Rule to

                                  15   indirect transactions, explaining that three requirements must be met for the Rule to apply. See Am.

                                  16   Bar Ass’n, 1999 WL 61837. However, in a subsequent Amicus Brief by the SEC, the SEC

                                  17   explained that only two requirements were required for the Rule to apply at least with respect to

                                  18   direct transactions. However, what no court has determined is whether the Rule, when applied to
                                  19   indirect transactions, has purpose-specific approval requirement. Nor has any court determined,

                                  20   whether the Rule applies in the first instance to such indirect transactions. Given the novelty and

                                  21   difficulty of these issues, and their wide-ranging practical effects, this Court finds that the second

                                  22   requirement of section 1292(b) is also met.

                                  23                          Advancement of Termination of Litigation

                                  24            As to the third requirement, the Court must determine whether interlocutory appeal on this

                                  25   issue would “materially advance the ultimate termination of the litigation.” “The ultimate question

                                  26   is whether permitting an interlocutory appeal would minimize the total burdens of litigation on
                                  27   parties and the judicial system by accelerating or at least simplifying trial court proceedings.” Allen

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                                   1   v. ConAgra Foods, Inc., No. 3:13-CV-01279-WHO, 2019 WL 1466889, at *3 (N.D. Cal. Feb. 6,

                                   2   2019) (citation omitted).

                                   3          As previously explained, if the Ninth Circuit were to find that the third requirement listed in

                                   4   the SEC No-Action letter is not required for the Rule to apply, and that the Rule applies to indirect

                                   5   interests, such determinations would resolve this entire case. If the Ninth Circuit finds that it does

                                   6   apply, this too would add significant certainty to the litigation, thus accelerating resolution. The

                                   7   alternative is to engage in further litigation so that ultimately an appeal can be taken. Thus, an

                                   8   interlocutory appeal would accelerate the pace of this litigation and would minimize the parties’

                                   9   burden and judicial resources. Thus, the third factor is met.

                                  10                                                  *****

                                  11          For the foregoing reasons, the Court finds that defendants have met their burden. The Court
Northern District of California




                                  12   notes that rarely, if ever, has granted a motion of this type. The circumstances here warrant the
 United States District Court




                                  13   request. Accordingly, the Court GRANTS defendants’ motion to certify for interlocutory appeal.

                                  14          The Court hereby VACATES the hearing on this motion, as well as the Case Management

                                  15   Conference scheduled for Monday, August 29, 2022. The Court SETS a Compliance Deadline for

                                  16   September 23, 2022. The parties’ shall file a joint report detailing a schedule for the filing of the

                                  17   appeal by September 16, 2022.

                                  18          This order terminates Docket Number 57.
                                  19      IT IS SO ORDERED.

                                  20   Date: August 19, 2022

                                  21                                                          _______________________________________
                                                                                                   YVONNE GONZALEZ ROGERS
                                  22
                                                                                               UNITED STATES DISTRICT COURT JUDGE
                                  23

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